EDUCATION LOGISTICS, INC., a
Montana corporation, and LOGISTICS
MANAGEMENT, IN C., a Washington
corporation,

Plaintiffs,

Vv.

LAIDLAW TRANSIT, INC., a Delaware
corporation

Defendant,
Vv.
TYLER TECHNOLOGIES, IN: C.,

Respondent.

IN THE UNITED STATES DISTRICT CDURT US. DISTRICT COURT
FOR THE NORTHERN DISTRICT OF YE
DALLAS DIVISION “

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N NO.

(Civil Action No. 07-06-M-DWM
Action pending in: District of Montana,
Missoula Division)

Appendix to Plaintiffs’ Emergency Motion to Compel
Document Production with Brief in Support

Plaintiffs Education Logistics, Inc. and Logistics Management, Inc. (collectively,

“Edulog’”) submit this Appendix to their Emergency Motion to Compel with Brief in Support:

Exhibit A
to Compel
Exhibit B
to Compel
Exhibit C
to Compel
Exhibit D Declaration of Alan C. Hess in

Compel

Declaration of Samuel T. Bull in Support of Plaintiffs’ Emergency Motion
Declaration of Hien N guyen in Support of Plaintiffs’ Emergency Motion
Declaration of Bill Swendsen in Support of Plaintiffs’ Emergency Motion

Support of Plaintiffs’ Emergency Motion to

Appendix to Plaintiffs’ Emergency Motion to Compel Document Production

with Brief in Support
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Respectfully submitted,

Ku

Stephen C. Schoettmer
State Bar No. 16551420

Kim McCrea
State Bar No. 24041434

THOMPSON & KNIGHT L.L.P.
One Arts Plaza

1722 Routh Street, Suite 1500
Dallas, Texas 75201

Phone: (214) 969-1700

Fax: (214) 969-1751

ATTORNEYS FOR PLAINTIFF
EDUCATION LOGISTICS, INC.

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document was served

KWL

Kim McCrea

upon all counsel hand delivery on March 2 , 2011.

Appendix to Plaintiffs’ Emergency Motion to Compel Document Production

with Brief in Support Page 2
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

TYLER TECHNOLOGIES, INC.,

EDUCATION LOGISTICS, INC., a §
Montana corporation, and LOGISTICS §
MANAGEMENT, INC., a Washington §
corporation, §
§
Plaintiffs, §
v. : MISC. ACTION NO.
§ (Civil Action No, 07-06-M-DWM
LAIDLAW TRANSIT, INC.,a Delaware § Action pending in: District of Montana,
corporation § Missoula Division)
§
Defendant, §
§
v. §
§
§
§
§

Respondent.

Declaration Of Samuel T. Bull In Support Of Plaintiffs’ Emergency Motion To Compel

SAMUEL T, BULL declares:

1. I am over the age of 18 and make this declaration based on my own personal
knowledge.
2. I am one of the attorneys for Plaintiffs Education Logistics, Inc. and Logistics

Management, Inc. (collectively, “Edulog”) in the lawsuit pending in the U.S. District Court for
the District of Montana captioned Education Logistics, Inc. v. Laidlaw Transit, Inc., Cause No.
CV02-183 (the “Montana Action”). In the Montana Action, Edulog is suing Laidlaw for breach
of contract. One of Edulog’s principal claims against Laidlaw is that it failed to use its “best
efforts to promote” the Edulog Software as required by a 1992 Agreement between Edulog and

Laidlaw (“failure to promote claim’). (Complaint §§ 17, 22, 24-30, 1992 Agreement § 2.3.3.)
EXHIBIT

A

BULL DECLARATION IN SUPPORT OF PLAINTIFFS’
EMERGENCY MOTION TO COMPEL - I

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The documents sought in the Edulog’s subpoena to Tyler Technologies, Inc. (“Tyler”) relate to
this claim. A true and correct copy of the Complaint in the Montana Action is attached as
Exhibit 1. A true and correct copy of the 1992 Agreement is attached as Exhibit A to the
Complaint.
3. Attached as Exhibit 2 is the FirstGroup plc Acquisition Announcement relating to
the acquisition of Laidlaw Intemational, Inc. (“FirstGroup’s Announcement”). During the
pendency of this suit, Defendant Laidlaw Transit, Inc. was acquired by FirstGroup plc, the
largest bus and rail transport operator in the United Kingdom for approximately $3.6 billion.
(Ex. 2, p. 5.) According to FirstGroup’s Announcement, on or around the time the Montana
Action was commenced, Laidlaw was the largest private bus contractor in the United States, with
~ contracts with more than 1,000 school boards and districts in North America, and a fleet of
approximately 41,000 buses. (/d., pp. 5-6.)
4, Attached as Exhibit 3 is the FirstGroup ple Annual Report and Accounts 2010.
According to Exhibit 3, FirstGroup ple is currently the largest transport operator in the
United Kingdom and North America with revenue of over $9.7 billion per year, operating
approximately 62,000 school buses, and employing more than 130,000 staff on two continents to
transport some 2.5 billion passengers per year. (Ex. 3, p. 4.)
5. Attached as Exhibit 4 is a true and correct copy of the “About Us” page from
Tyler’s website.
6. Attached as Exhibit 5 are true and correct excerpts from the Bloomberg Law

Company Report for Tyler, headquartered in Dallas, Texas. According to the Bloomberg Law

BULL DECLARATION IN SUPPORT OF PLAINTIFFS’
EMERGENCY MOTION TO COMPEL - 2

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Company Report, Tyler has approximately 2,000 employees and annual revenue of nearly $300
million. (Ex. 5, pp. 1, 16)

7. Attached as Exhibit 6 is a true and correct copy of an article in The Business
Review announcing Tyler’s acquisition of VersaTrans Solutions, Inc.

8. Attached as Exhibit 7 is a true and correct copy of the 9th Circuit Court of
Appeals’ decision in Education Logistics, Inc. v, Laidlaw Transit, Inc., 309 Fed. Appx. 742, 742
(9th Cir. 2010). In this decision the 9th Circuit ruled, as a matter of law, that the promotion
duties contained in Section 2.3.3 of the 1992 Agreement survived the end of the exclusive
license.

9. Attached as Exhibit 8 is a true and correct copy of the subpoena duces tecum and
accompanying documents served on Tyler in this matter. Edulog provided these documents to
Tyler at its Dallas office on February 14, 2010. The documents provided included a cover letter
discussing the subpoena and the reasons for the document requests, a copy of the subpoena, the
exhibit to the subpoena, and a copy of the existing protective order in the Montana Action.
While the existing protective order only covers parties to the Montana Action, in my cover letter
to Versatrans, I explained that Edulog would be willing to stipulate to the entry of a protective
order providing similar protections for Versatrans, including a designation for trade secret-type
documents that would preclude Edulog from reviewing.such documents.

10. Edulog formally served Tyler with the subpoena duces tecum on February 18,
2011. Tyler responded to the subpoena with a February 28, 2011, letter asserting boilerplate
objections and refusing to produce a single document. I discussed Tyler’s response with its

attorney, who refused to withdraw Tyler’s objections and maintained that Tyler would not be

BULL DECLARATION IN SUPPORT OF PLAINTIFFS’
EMERGENCY MOTION TO COMPEL - 3

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producing a single document. A true and correct copy of Tyler’s response to Edulog’s subpoena
is attached as Exhibit 9.

11. Attached as Exhibit 10 are true and correct excerpts from the deposition of Sean
O’ Halloran, a Laidlaw employee.

12. Attached as Exhibit 11 is the Declaration of Craig Griffiths, a former Laidlaw
employee, in which Mr. Griffiths states that his superiors at Laidlaw were so unhappy that he had
recommended the Edulog Software to a New Orleans school district that he had to call up the
former CEO of Versatrans to explain his reasoning.

13. While Tyler has generally asserted that its financial information is confidential
and trade secret protected, it has disclosed similar information in the past to news sources. For
example, in a February 5, 2007 article in The Business Review, Versatrans disclosed that,
“VersaTrans ended 2006 with sales of $7.1 million and added 131 new clients for a total of 1,260
schoo] districts. In 2005, it reported $5.6 million in sales, up from. $5 million the previous year.
The company now has had six consecutive record-breaking quarters.” A true and correct copy of
this article is attached as Exhibit 12.

14. In order to facilitate Dr. Hess’s market analysis, Edulog has subpoenaed
documents from Tyler (Versatrans), Transfinder, and Trapeze, the most significant bus routing
software developers. Edulog has also subpoenaed documents from GeoSpatial Technologies, a
software developer with whom Laidlaw briefly entered into an exclusive agreement in the mid-
2000s.

15.  Edulog requests an expedited ruling on its motion in light of the extremely limited:

time period in which it has to conduct discovery and complete its expert report in the Montana

BULL DECLARATION IN SUPPORT OF PLAINTIFFS’
EMERGENCY MOTION TO COMPEL - 4

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Action. Discovery was re-opened on Edulog’s failure-to-promote claim on January 14, 2011.
The deadline for Edulog to file failure-to-promote related expert reports is April 15, 2011, Prior
to that time, Edulog will need to collect the necessary market data and liability data sought in its
subpoenas to Tyler and other routing software providers, after which its expert will need to
process the various data received and draft his expert report. Because of this limited time
window, it is important that the parties’ resolve the current impasse over Edulog’s subpoena to
Versatrans as expeditiously as possible. A true and correct copy of the current scheduling order
is attached as Exhibit 13.

16. To date, Edulog has been diligent in seeking discovery relating to its failure to
promote claim. In the Montana Action, prior to the 9th Circuit’s ruling that Laidlaw’s duty-to-
promote continued under the 1992 Agreement, the Montana trial court had entered a protective
order precluding Edulog from seeking failure-to-promote claim discovery. In fact, any time that
Laidlaw’s counsel believed that discovery might somehow relate to the failue to promote claim,
they were quick to object. See Exhibit 10, O’Halloran Dep. 93:13-14, “Sam, you are not trying
to go into the best efforts issue, are you?”

17. After the case was remanded, Edulog moved to re-open discovery. The Court
granted this motion on January 14, 2011. Edulog served discovery on Laidlaw on J anuary 18,
1011 and immediately started to prepare subpoenas to be issued to other software vendors, such
as Tyler. Since January 14, the Montana Action has been very busy as both parties have been
exchanging discovery (though Laidlaw still refuses to produce substantive responses to specific
failure-to-promote claim discovery) and Laidlaw has re-filed summary judgment motions.

While, by agreement of the parties, Laidlaw’s substantive answers are due on March 8,201l,a

BULL DECLARATION IN SUPPORT OF PLAINTIFFS’
EMERGENCY MOTION TO COMPEL - 5

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review of its objections to Edulog’s failure-to-promote discovery makes it clear that Edulog will
also likely need to request assistance from the Montana trial court to compel Laidlaw to meet its
discovery obligations, See, e.g., Laidlaw’s responses to Interrogatory Nos. 5, 6, and 7, and RFP
Nos. 2, 3, 4, 5, and 8. A true and correct copy of Laidlaw’s recently served discovery objects are
attached as Exhibit 14.

I declare under penalty of perjury under the laws of the State of Texas that the foregoing
is true and correct to the best of my knowledge, information, and belief.

Executed this 8th day of March, 2011, in Seattle, Washington.

Samuel T. Bull

BULL DECLARATION IN SUPPORT OF PLAINTIFFS’
EMERGENCY MOTION TO COMPEL - 6

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Ronald A. Bender, Esq.
WORDEN THANE P.C.
Attorneys at Law

111 North Higgins, Suite 600
P.O. Box 4747

Missoula, Montana 59806
Telephone: (406) 721-3400
Facsimile: (406) 721-6985

Attorneys for Plaintiffs Education Logistics, Inc.,
and Logistics Management, Inc.

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
EDUCATION LOGISTICS, INC., a Montana Cause No. CV-07-06-M-DWM
corporation, and LOGISTICS MANAGEMENT,
INC., a Washington corporation, COMPLAINT FOR BREACH OF
Plaintiffs, CONTRACT AND DEMAND FOR JURY

-VS-

_ LAIDLAW TRANSIT, INC., a Delaware
corporation,
Defendants

Education Logistics, Inc. ("Edulog") and Logistics Management Inc. ("LMI")

(collectively "Plaintiffs") state as follows:
I. PARTIES

1. Edulog is a corporation organized and existing under the laws of Montana and has .
its principal place of business at 3000 Palmer Street, Missoula, Montana.

2. LMlisa Washington corporation and has its principal place of business at 5460 E.
Mercer Way, Mercer Island, Washington, 98040. Edulog and LMI are affiliates.
3. Laidlaw Transit, Inc. d/b/a Laidlaw Education Services ("Laidlaw") is a Delaware
corporation and has its principal place of business at 5 5 Shuman Blvd., Suite 400, Naperville,
Ilinois 60563. Oo

COMPLAINT FOR BREACH OF CONTRACT AND DEMAND FOR JURY TRIAL Page 1

EXHIBIT

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Il. JURISDICTION AND VENUE

4. Subject matter jurisdiction is proper under 28 U.S.C. §1332(a) because the
Plaintiffs and the Defendant are diverse and the amount in controversy exceeds $75,000 -
exclusive of interests and costs.

5. Subject matter jurisdiction over the state law claims is proper under 28 U.S.C.
§1367(a).

6. Personal jurisdiction is proper because Laidlaw maintains offices in Missoula,
Montana.

7. Venue is proper under 28 U.S.C. § 1400 (a) and 28 U.S.C. §1391(a) because
Laidlaw is subject to personal jurisdiction in this district and many of the events or omissions
giving rise to the claims occurred in this district.

I. GENERAL ALLEGATIONS

8. Edulog has developed proprietary computer software (the "Software"), currently
known commercially as "Edulog.nt" or the "Edulog System" which uses digitized maps and
student databases to provide efficient administration of bus routing for the business of
transporting students. The Edulog System allows school districts to efficiently create and operate
bus routes. Edulog markets the Edulog System to school districts throughout the United States
and Canada. . . .

9. LMI was formed in May, 1992 by Edulog's principal shareholder to, among other
things, license the Edulog System to school boards, school districts and other institutions or
agencies involved with education. LMI was to focus on international business.

10. To further that activity, Edulog granted LMI a perpetual and unlimited license to
use and to grant to others a license to use the Edulog System. Although Edulog granted these
rights to LMI exclusively and to no other entity, Edulog retained ownership of the Software,
including the right to license the Software to school districts.

11. Laidlaw is one of the largest contractors providing student transportation services

COMPLAINT FOR BREACH OF CONTRACT AND DEMAND FOR JURY TRIAL Page 2
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in North America. Laidlaw contracts with school districts to provide busing services to transport
children to and from schools.

12. Onor about June 30, 1992, LMI and Laidlaw entered into an agreement for the
licensing and use by Laidlaw of the Edulog System and Products ("Agreement"). "Product[s]"
and "Software" were defined in the Agreement to include the Edulog System. Edulog is a
third-party beneficiary of the Agreement and has certain obligations under the Agreement. A
copy of the Agreement is attached as Exhibit A. .

13. The Agreement granted Laidlaw a renewable, exclusive five-year right to market,
install, apply, maintain, develop, support and use the Product for school bus transportation
services. Although the license to Laidlaw was described as "exclusive", LMI maintained the.
right to market the Product to school boards, school districts, educational institutions and state
and federal agencies involved in schooling and education. At the end of the initial five-year
term, Laidlaw elected not to renew its exclusive license.

14. Under Section 2.1 of the Agreement, Laidlaw was also granted a perpetual
non-exclusive license to market, install, apply, maintain, develop, support and use the Product for
or in connection with school bus transportation services. Since the expiration of the exclusive
license in 1997, Laidlaw has operated under the non-exclusive license.

15. Section 4.2 of the Agreement requires Laidlaw to pay LMI a "Royalty" for each
New Bus (as defined in Section 4.3 of the Agreement) placed into service after the date of the
Agreement. Section 4.4 of the Agreement specifies when royalties must be paid. Royalties are
to be paid under both the exclusive and non-exclusive license.

16. Section 4.7 of the Agreement requires Laidlaw to pay certain fees to LMI in
addition to the New Bus Royalties described above. For example, Laidlaw must pay LMI $1,000
for each installation by Laidlaw of the Software on a computer system. The obligations of
_ Section 4.7 apply under both the exclusive and non-exclusive license.

17. Section 2.3.3 of the Agreement requires Laidlaw to “use its best efforts to promote

- COMPLAINT FOR BREACH OF CONTRACT AND DEMAND FOR JURY TRIAL : Page 3
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the use of the Software and related services provided by LMI, with regard to Laidlaw's existing
customer base at any given time, and with regard to prospective customers and new accounts."
Laidlaw is required to ensure that its employees, contractors and agents do not contravene the
provisions of the Agreement. The obligations of Section 2.3.3 apply under both the exclusive
and non-exclusive license.

18. _ In some locations, Laidlaw has installed the Edulog System on Laidlaw computers
located at Laidlaw's office. The Laidlaw office then operates the Edulog System for the benefit
of school districts in the area served by that office. In other locations, school districts have
purchased a license to use the Bdulog System to allow them to operate the System without
reliance on Laidlaw.

19. Instill other locations, Laidlaw has provided school districts what Laidlaw
characterizes as "look-up access." "Look-up access" allows a school district to access its bus |
route and schedules. Upon information and belief, "Look-up access", is possible only by using at
least part of the Edulog System.

20. Upon information and belief, Laidlaw has provided "look-up access" to at least
the following school districts: Conneault School District (PA), Kirkwood School District (MO),
Hamden School District (CT), Miller Place School District (NY), Norwin School District (PA),
Palm Springs School District (CA),Wall Township School District (N D, Buffalo School District
- (MN), DeKalb School District (IL), East Penn School District (PA). Laidlaw has provided
"look-up access" to these school districts, and possibly others, without Edulog's permission and
without paying the royalties or fees due under the Agreement. Nor have the school districts paid
any royalties or fees under the Agreement.

21. Inaddition, Laidlaw, through its computer routing division, Laidlaw Planning
Solutions ("LPS"), directly competes with Edulog to provide routing software to school districts
in violation of its contractual duty to promote Edulog's Software. Laidlaw and/or LPS entered

into a contract with GeoSpatial Technologies, Inc. ("GST"), a competing provider of routing and

COMPLAINT FOR BREACH OF CONTRACT AND DEMAND FOR JURY TRIAL Page 4

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other software, to jointly promote GST's software and jointly submit bids to school districts for
the provision of school bus routing software to the Leon County, Florida School District.
Laidlaw/LPS and GST were awarded the contract in Leon County. Edulog believes that Laidlaw
has breached its contractual duties to Edulog in its dealings with other school districts as well.

22. Upon information and belief, Laidlaw has entered into a contract with VersaTrans
(another competing provider of routing software) and is promoting VersaTrans software in
contravention of its duty to promote Edulog software under the Agreement.

23. " Edulog is also aware of at least one instance where Laidlaw has affirmatively .

_ discouraged a school district from using Edulog's software and believes that this has occurred in
other school districts in violation of Laidlaw's duty to promote Edulog software under the
Agreement. .
Iv. CLAIMS
BREACH OF CONTRACT

24. Pursuant to Section 2.3.3 of the Agreement, Laidlaw must use its best efforts to
promote the use of the Software and related services provided by LMI to existing and prospective
Laidlaw customers. Laidlaw has breached Section 2.3.3 by promoting routing software provided

by other vendors and discouraging the use of the Software. Laidlaw has entered into an —
agreement with GST to compete directly with LMI and Edulog for the provision of routing
" software to school districts. This breach of the Agreement has, among other things, resulted i in ©
the loss of licensing fees and royalties to LMI and Plaintiffs.

25. Pursuant to Section 4 of the Agreement, Laidlaw must pay a royalty for each new
bus Placed into service after the date of the Agreement. Section 4.2 obligates that Laidlaw is to
pay to LMI $1,000.00 per bus for the first 500 buses and $1,250.00 per bus in excess of 500
buses in each contract.

26. Laidlaw has failed to pay royalties as s required by the Agreement.

27. Pursuant to Section 4.7 of the Agreement, LMI; is entitled to receive a fee of

COMPLAINT FOR BREACH OF CONTRACT AND DEMAND FOR JURY TRIAL Page 5

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$1,000 for each installation of the Software on a computer system, $500 for each feasibility or
pre-bid study completed by Laidlaw utilizing the Software, and/or a licensing fee in the event . -
that a Laidlaw customer requires ownership of the Software.

28. Laidlaw has violated its Agreement with Plaintiffs by failing to pay the additional
fees required by Section 4.7 of the Agreement between Plaintiffs and Laidlaw. —

29. Laidlaw has violated the Agreement by providing "look-up access" to school
districts without Edulog's permission and without paying fees and royalties owed as a result.

30.  Edulog has been damaged by Laidlaw’s failure to pay the required royalties and
fees in an amount to be proven at trial. .

WHEREFORE, Plaintiffs pray for relief as follows:

1. They receive judgment against Laidlaw for all royalties and fees due and owing
under the Agreement, and any and all other damages, including lost profits resulting from
Laidlaw's breaches of the Agreement, including but not limited to its failure to use its best efforts
to promote the use of the Product as required by Section 2.3.3 of the Agreement, plus interest on
said amounts from the date they are capable of being made certain until paid.

2. They be granted such other and further relief as may be equitable and as this Court
may deem just and proper under the circumstances, including interest, their costs, and a
reasonable attorneys’ fee herein.

Dated this 11th day of January, 2007.

/s/ Ronald A. Bender -

Ronald A. Bender
Worden Thane P.C.
Attorneys for Plaintiffs Education Logistics, Inc.
and Logistics Management, Inc.
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COMPLAINT FOR BREACH OF CONTRACT AND DEMAND FOR JURY TRIAL : Page 6

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DEMAND FOR JURY TRIAL
Plaintiffs hereby demand a jury trial of all issues so triable.

/s/ Ronald A. Bender
Ronald A. Bender

Worden Thane P.C.
Attorneys for Plaintiffs Education Logistics, Inc.
and Logistics Management, Inc. -

Dated this 11th day of January, 2007.

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EXHIBIT A

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THIS AGREEMENT made as of ‘the aah aay oe UU ro
BETWEEN = mo,
- LOGISTICS MANAGEMENT, INC., & Washington corporation, ~

_. having a place of business at 2930 76th Avenue, S. E.,

_ #8203, Mercer Island, Washington 98040

HIEN NGUYEN, of 2930 76th Avenue, S.E-, fA203, Mercer

Island, Washington 98640 ro .

_ AND? .

LATDLAW. TRANSIT, INC., a pelaware corporation having a
place of business at Suite 400, 569 Airport Freeway, . *
_ Burst, Texas 76053 oo so

WITNESSES THAT? a

WHEREAS! ms to

. Re UME and Shareholder. have: represented to Laidlaw thet.”
Education Logistics, Inc., & Montana corporation has developed
- cartain groerieea computer software, referred to comercially
.as.the Edulog System, (the "Edulog System") which uses digitized
maps and student data: bases to provide efficient
of school bus routing and: routing ‘changes for the student
transportation ‘business; and which also has the capability ‘to
determine routes, and uses specialized mathematical. optimization
formulae ‘to optimize routes. LMI and Shareholder have .
. represented that. the Edulog Systen
_ transportation staff_in -performing student ‘£

unctions, bus . ;
functions,-bus stop Functions, bis run functions and generalized. ~~
reporting, and that: the -programs operate in a-number of.operating

“ system environments , are on-line and interactive;

B. Lr and Shareholder have represented to Laidlaw that

Edulog and LMT have entered -into a contractual relationship

whereby Edulog. has granted to LM the perpetual, - exclusive and
unlimited license to tise and to grant to others a License—to_usa ©
the Edulog System; : Ph oy . a
Cc. LMI and Shareholder have represented to Laidlaw that ©
- IMT has the ability to'cause Edulog- to support, maintain .and
_ develop the Edulog System, and to support its installation,
maintenance and use in working environments; . ‘ -
D. Mx and Shareholder have represented to Laidlaw that . ~

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EXHIBIT A .
Page 1 of 93

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Edulog is the sole legal and peneficial owner of the Edulog
System and all property, intellectual and other rights associated
with it, subject to the perpetual, exclusive and unlimited
license granted to LMT described above, and that the Edulog

System does not infringe on any. copyright, patent or intellectual
property or other rights of others;

ER. LMI has agreed to grant to Laidlaw a perpetual non-
exclusive license and a renewable exclusive license to use the .
Edulog System and all developments thereof in connection with the:
school bus transportation business of Laidlaw and its affiliates, -
on the terms and conditions set out in this Agreement;

F. Shareholder is the beneficial and record owner of
more than ninety-eight percent (98%) of all of the issued and
outstanding shares of each of Lil and of Edulog;

G. To induce Laidlaw to enter into this Agreement,
Shareholder has guaranteed to Laidlaw the performance by IMI of
all of its obligations hereunder, and has agreed to indemnify and
hold Laidlaw harmless from any joss or damage incurred by Laidlaw

as a result of any breach by LMI of its representations or
obligations hereunder.

THEREFORE, in. consi eration of good and valuable
consideration paid and given by Laidlaw to LMI and Shareholder
(the receipt and sufficiency of which is hereby acknowledged by
each of and Shareholder), and the promises and agreements
hereinafter contained, IMI, Shareholder and Laidlaw agree as
follows: = . - ot Lo .

1.0 | DEFINITIONS
The following words and phrases have the meanings -
indicated: , . .,

“component": Any individually identified or identifiable

item of Software, Documentation, Supporting Materials,
. Follow-On Products or Related Products. .7

“confidential Information": The meaning set forth i

upgrades, enhancements and. improvements prepared or ~
published at any time thereafter. Documentation shall be
of such quality as to provide Laidlaw with reasonable and
all necessary assistance in using the Product. mo

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"Rdulog": Education Logistics, Inc., a Montana
corporation. -

"Edulog User Manual": the user manual pertaining to and
describing in detail the Software and how to use it,

prepared and published by or on behalf of kdulog from
time to time.

"Extension": successive five (5) year periods’ comnencing

with the 5th anniversary of the date of this Contract, as
. described in section 4.6.

"Fiscal Quarter"; each three month period ended November —
30, February 28. (or 29 in leap years), May 31, and August
31 respectively. .

"Fiscal Year": means each twelve month period ended on
August 31.

*Zollow-On Products": .

(a) any school bus transportation product that
_ incorporates a reasonable portion of the user~ .
oriented functionality, functions, etc., of one or
more of the Product and/or Components acquired (by

| License or otherwise) by Laidlaw under this
Contract; and .

- @>) Any school bus transportation product marketed by
Edviog or LMI under the same general product name 25

any Product or Component acquired by Laidlaw under.
this Contract; and - . .

(c) All upgrades, modifications and enhancements to any
Product or Component acquired by Laidlaw under this

.,contract. . .

4 .
"tnitial Period": the five (5) year period from the date
of this contract vuntil the 5th anniversary thereof. —

subsidiaries.

“wpaidlaw": Laidlaw Transit, Inc., ‘its affiliates and

"Laidlaw Customer": any party with whom Laidlaw has, at
the date hereof or in the future, a contractual

relationship for the supply by Laidlaw of school bus
’ transportation services of any kind. ,

"Licensed Territory": Canada, the United States of

America, Mexico, and their respective territories and
dependencies.

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"IMI"; Logistics Management, Inc., 4 Washington
corporation. ,

“New Bus": the meaning set forth in section 4.3, hereof.

“product": All Software, Documentation, and supporting
Materials as described an the Edulog User Manual current
and delivered to Laidlaw at the date of execution of this
Contract, as well as ‘all upgrades, enhancements, and
improvements thereof or thereto prepared or published at
any time thereafter, all specialized knowledge and know~

' Documentation, and Supporting Materials and
implementation and use thereof, and Follow-On Products
and Related Products.

Related Products": any school ‘bus transportation product
or component which ts not a Follow-On product but for

Royalty": the meaning set forth in section 4.2 hereof.
"Shareholder": Hien Nguyen.

"software": The school bus transportation computer

programs, as described in the Edulog User Manual current
‘and delivered to Laidlaw at the date of execution of this
' Contract, to be provided. by IMT under this Contract,

including all .currept prograns, and all upgrades,.

prepared or published at any time thereafter. Such
computer software shail comprise all of IMI’s and .
Edulog’s software and computer programs used for its
__.  , Computerized school bus routing, scheduling and mo
oe optimization system, including (without imitation) the. -'-
following: .

(a) Geocoding Software

(b) Prs-IIT Transportation Software including:
. 1) Graphics Package — .
2) student Database Management Component
3) Bus Stop Graphic Component .
4) Bus Run Graphics Component.
5) Bus Route Component .
6) Route Driving Directions
7) security Module
8) Report Writer Component

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9) Special Education Component

(c) Transportation Optimization System including:
- 1) Bus Stop Optimization Software
2) Run Building optisization Software
3) Reute Coupling Optimization Software
4) Routing and Scheduling Optimization Software

“source Code": All program and library codes, source .
codes, security modules and codes, compilers, assemblers,
similar supporting software, etc-, and necessary and
sufficient written narrative descriptions, to create the
complete machine veadable code(s) that constitute the
Software, as well as sufficient written narrative
descriptions, instructions and documentation to enable
Laidlaw to understand tha logic cf the Source Coda and
Software and security modules and codes and to

"gupporting Materials": all instructions,. mamals,
‘software, labels, hardware, etc., necessary for Laidlaw
copies of the Software and Documentation —-

{Mi hereby grants to Laidlav a perpetual and irrevocable —
non-exclusive license within’ the Licensed Tarritory to
market, install, apply, maintain, develop,. support,

use tha Product for or in connection with scheol bus

- transportation.

‘within tha Licensed Territory for the Initial Pericd and
for any Extensions, subject to the provisions of section
_ 2.3 and section 4.6 hereof. Termination at any time of
- the exclusive license described in this section 2.2 shall
in no way affect or diminish the perpetual nonexclusive.
license granted pursuant to section 2.1, nox impact the
- payment of Royalties described in section 4,2.

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2.3 oo] Bo ool Districts.
2.3.1 Retention of Ri th cy_9o

Exclusive License.
Notwithstanding the grant of exclusive license to
Laidlaw as described in section 2.2, and subject

Product directly to school boards, school

entity whose primary purpose is to provide
schooling or education to the public, and any’
agency of any such organizations or entities, for
their own use (with no right to sublicense) ,
subject to the terms of this Contract.
Notwithstanding anything herein contained, dauring

_the currency of the exclusive license described in

section 2.2, neither LMI nor Edulog will have ‘the
right to, and each agrees that it will not, sell
or license or authorize the use of the Product to
or by consultants, private sector bus contractors
other than Laidlaw, or other software companies,
that are or may be in competition with Laidlaw or -
the Product at any tine. |

Laidiaw shall have ‘the exclusive right to market,
install, apply, paintain and support the Product:
with Taidlaw Customers, but may at its discretion

-assign such right for a limited or unlimited

' period of tine to IMI or Edulog or the nominee’ of .

2.3.3

either for a particular Laidlaw Customer or
particular Laidlaw Customers. Should a Laidlaw
Customer advise Laidlaw of such customer's desire -
to deal directly with IMI rather than Laidlaw,

‘Laidlaw shall not unreasonably refuse to grant to

[EME the right. to deal @irectly with such Customers... ..

Customer. Laidlaw shall provide LMI with a ”
current list of Laidlaw customers in order that

‘LMI will have knowledge as to when written notice

is required. Laidlaw shall update said ‘list from
time to time. LMI shail have no obligation to
give prior written notice as to any potential
customer not listed on the lists furnished to LMT
or otherwise known to LMI to be a Laidlaw
Customer.

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The parties will work together to attempt to
minimize the potential for conflict between then,
and to define their respective markets. IM and
Edulog will each use their best efforts to promote
the use of contract school bus and other services
provided by Laidlaw, with regard to “heir existing
customers at any given time, and with regard to =

‘IMT and Laidlaw will ensure that their employees,
contractors and agents do not contravens the
provisions of this Contract or breach LMI’s

2.4

LMI shall provide, or shall cause Edulog to provide,
Laidlaw with two (2) copies of each item of Software and

2.4.1 LM shall provide, or shall cause Eduleg to
¢ provide, diskette labels and similar materials

( ed 4
Laidlaw and cannot be reproduced by Laidlaw using
the Supporting Materials and standard photocopiers
and/or computer workstations. Se .

- 2.4.2 LMI shail make available to Laidlaw, at IMI’s cost
-or Edulog’s cost, whichever is lower, plus a
» reasonable service charge, not to exceed ten
_ _* percent (10%), all Components of which Laidlaw is
oars eee unable ‘to produce: Useful. Copies. by use of the . :
Supporting Materials and standard photocopiers
and/or. computer workstations. IME will promptly
honor all such purchase requests by Laidlaw in the
quantities requested. ‘this provision shall apply
only where Laidlaw agrees in writing that it is
impractical or unreasonable to require LMI to
provide Supporting Materials and shall not.
otherwise relieve LMI of its obligation to supply
Supporting Materials.

2.5 ‘Copies.
- he Licenses granted hereunder shall entitle Laidlaw to
make or cause to be made as many copies of the Software

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(including copies for back-up purposes), Documentation
and Supporting Materials as are necessary for or in
connection with Laidlaw’s business without further .
permission of LMI or Edulog and regardless of whether .
such Software, Documentation and Supporting Materials are:
copyrighted or otherwise restricted or propzietary?
provided, that all such copies shall be subject to the
terms of this Contract. oe ,

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2.6

Tnless authorized in writing by LMI or Edulog, Laidlaw
will not knowingly delete Edulog’s copyright notice,
trademark, etc., in reproducing the Product.

Product Distribution. oo
Laidlaw may distribute copies of the Product and its
Components for use consistent with the terms of this
Contract by such means as {it may choose, ineluding but

‘not limited to physical media, electronic transmission,
or telecommnications.

Laidlaw may concurrently use the software for Laidlaw's.
business purposes on any mumber of computer workstations

‘2.9 Rastxi

‘reasonable actions in a timely manner to ensure that |
systens utilizing expertise, technology, procedures, or

Edulog to R & D Systems and pertaining initially to the
Los Angeles market) which are developed or marketed by

IM? or Edulog or their respective affiliates. or related
_. parties, are not utilized by their respective licensees

exclusive license granted to Laidlaw and described in
section 2.2, (including any Extensions thereof).

2.10 Continued Support.

IMI sball at all times hereafter, continue to maintain,

develop, support and improve the Product, or cause Edulog .
to do so for the benefit of Laidlaw.

3.0 ESTABLISHMENT OF LAIDLAW ROUTING LOGISTICS DIVISION.

3.1 Establishment of Division.
- 8

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LMI will, and will cause Eaulog to diligently assist
Laidlaw in establishing 4 Laidlaw owned and operated
Routing Logistics Division as quickly as is determined to
be feasible by Laidlaw over 4 twelve month period from
the date of this Contract. Establishment of such a
Laidlaw division will include the transfer to Laidlaw of
five (5) employees of Edulog as Bay be mutually agreed
between IMI and Edulog, and assistance in hiring others
sufficient to enable Laidlaw to operate and market the
product within the Licensed Territory, and to handle map
digitization, operation and maintenance of the Product in
operating environments, and implementation and training

. an use of the Product with existing Laidlaw accounts and

new accounts. Laidlaw shall be solely responsible for

all costs of said Division, subject to the provisions of,
this Contract.

Lease of Premises.

Edulog will enter into a lease agreement to lease to
Laidlaw 5000 square feet of finished office space at the
market rent therefor, but not to exceed §10.00 per annum ,
per square foot of usable space, including all taxes, :
heating, aix conditioning, operating and utility expenses
(excluding only telephone) in Edulog’s premises at 3000
Palmer, Missoula, Montana (the wEdulog Building"), for
use by the Laidlaw Routing Logistics Division. Such

office space will be. finished to standards no.less than

those of the premises occupied by Eduleg in the building
at the date hereof, and will be completed and nade ready
for occupation as soon as reasonably possible. Rent and
the texm of the. lease will' comence on the first day of
the month following completion of the premises in a
manner suitable for use and occupation. The term of. the

- lease will be five (5) years, with two (2) options to”

renew for subsequent periods of five (5) years each on

_¢he same terms and conditions except for the rent, which

shail be at the: market rate as aqreed.between Laidlaw and ..

_ Edulog, or failing agreement, the market rent as-

determined by a single arbi tor- selected. by. Bdulog.and
Laidlaw, who shall submit the matter to such arbitrator

for. determination and be bound by such arbitrator’s
decision.

IMI will cause Edulog to permit Laidlaw personnel . -
reasonable access at all times to all Edulog personnel,
developmental, maintenance and support materials,
documentation, resources and facilities necessary Or
desirable to assist Laidiaw in establishing its Laidlaw
Routing Logistics Division and maximizing marketing,

implementation, use and efficiency of the Product, at no
cost to Laidlaw.

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3.4

4.1

Proximity of Operations.

LMI will cause Edulog to maintain all of its personnel
and operations related to or engaged in development,
support or maintenance of the Product at the Edulog
Building and in proximity to the Laidlaw Routing
Logistics Division, unless otherwise agreeé by Laidlaw.

PRICE

Price for Non-Exclusive License.
In consideration for the grant of the perpetual non~

exclusive license pertaining to the Product described in .

section 2.1, establishment of. the Laidlaw Routing
Logistics Division utilizing the’ Product, provision of
all training and other assistance by INI and Edulog, .
necessary to so do, and provision by iNT and Edulog of
all maintenance, support and development services
described herein, Laidlaw will pay LMI the sum of U.S.
$1,500,000.00 upon the signing of this contract.

Laidlaw will pay LMI a royalty (the "Royalty"), for each
New Bus placed into service in the Licensed Territory
after the date of this Contract, as follows:

Aggregate Number of _ One-time Royalty. Payable
for each New pus

e >

1 to 500 buses _ $1,000 per bus up ta

. 500 in total

More than 500 buses “$1,250 per bus over
~~) 500 in total vee

"New Bus". .
For the purposes of: this section 4.0, "New Bus" means any

school bus’ (exclusive of spare buses) placed into service

services ("New Contract") obtained by Laidlaw with a

school board or school district that is not at-the tine
and was not previously a Laidlaw Customer ("new
customer"), where a component of such New contract is use
or application of the Product in providing the service to
be provided under such contract, provided that:

‘ (a) any school bus placed into service with a new

customer that had installed or used the Product or
_any other computerized routing or scheduling system
prior to Laidlaw entering into a New Contract with
it, other than by reason of a prebid study performed

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(b)

(c)

4.4.1 For clarity, Eduiog shall be entitled to receive a
Royalty pursuant to section 4.2 in the following

py Laidlaw or IMI, shall be excluded from the
definition and not be considered to be a New Bus;

if the number of school buses
contract is reduced at any time or tines during the

utilization of the Product, (including, but not

ed under the New

limited to, the Optimization Components, only the
remaining buses (excluding spares) required under

Royalty previously paid for any buses deleted from-
the contract shall be credited or refunded by IMI to

Laidlaw.

if the New contract is with a former Laidlaw’
Customer, and no Royalty has ever peen paid by

Laidlaw to LMI hereunder in connection with that
customer, such former Laidlaw Customer shall be

circumstances:

(a)

(c)

if the installation of a computerized routing
system is specified in a bid or proposal by
Laidlaw to a new customer to provide annual
. school. bus transportation services to it, and

Laidlaw is successful in obtaining a New —
Contract to provide New Buses through such

pid or proposal, unless a computerized

routing system other than the Product is

specified or required to meet the bid «-

- specifications; ~~ ~—

successful in obtaining a New Contract to

provide New Buses through such bid, unless a
e
product is specified or required to meet the

computerized routing system other than

bid specifications;

a pre-bid study was conducted by Laidlaw or
IMI using the Product in a significant way,

and such study was 4 component of a

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successful bid by Laidlaw resulting in a New
contract to provide New Buses.

(da) if installation of software with that new
customer occurs within one (1) year after
Laidlaw obtains a New Contract.

(e) notwithstanding the provisions of section

Laidlaw Customer, which customer has been
licensed by LMI to use the Software, and as
a direct result of such introduction and the’

obtains a New ‘contract from ‘such customer

within twelve (12) months after such initial
jntroduction.

4.5

otherwise payable shall be payable during the first year
of such New Contract, and the remaining 50% of the
Royalty otherwise payable shall become due and payable in
the second year of such contract if Laidlaw is successful
in obtaining an extension or renewal of such contract,
and shall.be forgiven and extinguished if Laidlaw is not
successful in obtaining such extension or renewal. vs

4.6 ._Extension of Exclusive License.
Notwithstanding the other provisions of this Contract,
(other than Events of Default), the. exclusive license
described in section 2.2 shall automatically be renewed
for successive periods of five (5) years each .commencing.

_ its ‘permitted assignee) an aggregate of no less than U.S.
“$1.5 million in Royalties for the immediately preceding
five. (5) year period. Laidlaw shall be entitled to pay
any deficiency in the Royalties such that the aggregate
payment made is no less than U.S. $1.5 million for such .

five (5) year period, in order to obtain an Extension of -
the exclusive license described in section 2.2. ‘Should
Taidlaw fail to pay the said sum of U.S. $1-5 million for
any such five (5) year period, LMI shall be entitled to
witharaw the exclusivity of Laidlaw’s license for the
Product, but such failure shall not affect. or limit the

- non-exclusive perpetual license described in section 2.1
hereof, nor affect Laidlaw’s obligation to pay Royaities

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4.7 ddition

Addjtional Fees.
Tn addition to the contract price and Royalties
aforesaid, Laidlaw will pay to LMI:

4.7.1 for each installation by Laidlaw of the Software
on a computer system, 4 fee of $1,0C9;

4.7.2 for each feasibility or pre-bid study completed by
Laidlaw utilizing the software, a fee of $500.

4.7.3 ‘payment based on regional prices set forth on
.Schedule B for any installation with a Laidlaw

customer where the: Laidlaw Customer requires its
own ownership of the software license. The
regional price schedule will be updated Septenber
‘1, 1992, and annually thereafter. in such case,
IMI will grant a license for the Software directly
to such Laidlaw Customer, without further charge,

and Laidlaw may charge th Laidlaw Customer for
such license. .

Royalties earned in each Fiscal Quarter shall be paid
within 30 days following the end of such Fiscal Quarter.

4.9

The amounts in this section 4.0 prefaced with a "§"
shall, unless otherwise specified, mean Canadian dollars .
for locations within Canada or Mexico, and United states

_america, where a New Bus is put into service pursuant to
a New Contract (or in the case. of: section 4.7.2, where -
the feasibility study is conducted} .

5.0 INFRINGEMENT PROTECTION.

5.1 Royalties or other charges for any patent,. trademark,
___ copyright, trade secret or other proprietary information .
€o be used in, the Product shall be considered as included ._..
in the contract price set forth in section 4.0.

§.2 LMI warrants that neither the Product.nor any Component,
including elements provided by others and incorporated

into the Product, ‘infringes upon or violates any patent,
trademark, copyright, trade secret, or other proprietary
right. IM shall indemnify and save harmless Laidlaw -
against. any and all judgnents, costs, damages, and
expenses which may be incurred’ by Laidlaw in connection
with any suit, action, or proceeding brought against
Laidlaw for infringement or alleged infringement of any
patent, trademark, copyright, trade: secret or other
proprietary right by a court of competent jurisdiction, ©

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arising out of the use by Laidlaw or its customers of the
Product or exercise of Laidiaw’s license rights under
this contract. If any suit or suits for infringement of
any patent, trademark, copyright, trade secret or other
proprietary right be instituted against Laidlaw as above
specified on account of the use of the Proasct, and if
promptly notified, LMI shall assume the defense of such

(a). procure for Laidlaw the right to continue using the
Product or Component; ‘

(b) replace it with non~infringing material providing ,
_gervice equal to that contracted for hereunder; ox

(c) modify it so it becomes non-infringing while
e

providing service equal to that contracted for
hereunder. . , 7

‘rf IMI is unable to cure such infringement under any of
+he options set. forth above, Laidlaw shall have tha right
to return such infringing material to IMI with a refund

ability to continue to use the Product) and payment of
incidental damages. to, Laidlaw.

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REPRESENTATIONE

6.1 LMI and Shareholder jointly and severally represent and
"warrant to Laidlaw that: .

6.1.1 IMI is a corporation duly incorporated, validly
existing and in good standing under the laws of
the State of. Washington, and has all necessary
authority and corporate power to deal with and
license to others the Product, to deal with the
Source Code, and to enter into and perform its
obligations under this Agreement.. .

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6.1.3

6.1.4

6.1.5

HQ

Edulog is the sole beneficial and legal owner of
the Product and Source Code and all rights.
(including copyright) relating thereto, free and
clear of all liens, charges, encumbrances and -
adverse clains, and has granted to Luz the
erpetual, exclusive and unlimited 2icense and

‘right to use, and to grant to others a license and

right to use, the Product.

The execution and delivery of this Contract by LMT

has been duly authorized by all necessary

corporate or other action.

whe Product and the Source Code, and the licensing

This Contract constitutes @ legal, valid and
binding obligation of each LMI and Shareholder

-. enforceable against each of them in accordance

with its terms.

Neither LMI nor Edulog has granted any licenses’
or rights of use of the Product to any third
parties, other than those disclosed on Schedule C,
and school boards and school districts.

their own use granted ‘tq school boards, school .
districts, schools and educational institutions, ©
states, state agencies. and federal agencies -
involved in schooling Or education; any other

entity whose primary purpose is to provide

_ will not do so during the term of the exclusive .

license and any Extensions thereof described in
section 2.2.

All of-the parties who currently hold licenses or
rights to use the Product aré fully described in
Schedule C, and no such parties have any right to
sublicense the Product. Forthwith after execution
of this Contract, LMI will provide Laidlaw with
written particulars of the geographic Limitations

on such rights and licenses, which of the parties

listed in Schedule C have been granted a license -

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Agreement, the geographic limitations on such
licenses or rights, and the jdentity of component
parts of the Product for which such licenses Or
rights have been granted.

6.1.9. Neither LMI nor Edulog is aware of any material
' deficiencies, problems or bugs in or with the

application.

6.1.10 LMI, Edulog, the Product and the Source Code are
not subject or party to any Litigation or Known:
claims, other than the suit described in Schedule
A, which suit does to involve or affect the
Product or the Source Code or any matter which is
dealt with in this Contract.

6.1.11 The Product is known commercially as the Edulog.

, System, and uses digitized -maps and student data
bases to provide efficient administration of
school bus routing and routing changes for the
student transportation pusiness; the Product also

e has the capability to determine routes, and uses
specialized mathematical optimization formulae to

6.1.12 The Product in general assists school
tran RO ee staff in performing student
ons, bus functions, bus stop functions, bus
ran functions and generalized reporting, and the .-
. 5 > programs forming paxt of the Product. operate in a
number of operating system environments, are ony
" [ine and interactive. es .

6.1.13 LMI has the ability to support, naintain and
@evelop the Product, and to suppoxt its
installation, maintenance and use in working
environments. , .

6.1.14. The Edulog. User Manual current and delivered te.
Laidlaw at the date of execution of this contract

contains a comprehensive description of the

Software and its functions as at the date of this
Contract. :

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7.0 CONFIDENTIAL INFORMATION

7.1 "Confidential Information" shall mean all information
relating to the business of Laidlaw or LMI which is by
its nature or substance proprietary or confidential. LM

and Laidlaw shall take reasqnable. measures to_gafeguard
each other's confidential Information and shall take no

its own Confidential Information, provided that Laidlaw

not include:

‘ (a) information which is generally available to or known |.
within the school: bus transportation pusiness or
LMI’s or Edulog’s business; —

(b) information which vas previously known by the .
receiving party other than as 4 result of disclosure
pursuant to this Contract;

. (c) information which is developed independently by the
¢ receiving party or its consultants; . .

(a) information which is disclosed ‘to the party by 4
. third party not known to be under @ confidentiality
obligation to the other party.

7.2 If required by. any governmental authority having
competent jurisdiction (including, without limitation, school .
poards or: school districts with which Laidlaw may be dealing
er proposing to deal), Laidlaw may disclose upon authorization’
by LMI, which wilk not be unreasonably withheld, IML‘ s

Confidential Information to such party, provided Laidlaw shall

take reasonable steps to request that the receiver maintain
the confidentiality of such information.

7.3 The provisions of this Contract shall not relieve the

parties of their respective obligations under: any

-Gonfidentiality agreements in place ‘between the parties at the
date hereof. - .

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8.0. PRODUCT. WARRANTY
8.1 Workmanshi eri

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8.1.1 LMI warrants that the Product and all Components
thereof furnished by LM, whether or not
manufactured by LMI, shall be of the kind and

quality described in this Contract and the
Documentation, shall be new and free of defects in
workmanship, material and title, shell be of good .
and merchantable quality and ghall be fit for its
intended purpose. The Product and each Component.
delivered hereunder will conform to any detailed

not limited to, physical characteristics, :
operating characteristics, power requirements,
naintenance characteristics, modularity,
compatibility and the like.

8.1.2 IMI shall assign to Laidlaw any warranties issued
by outside suppliers, manufacturers and .
subcontractors. All warranties so assigned shall.
be in addition to and not in lieu of all

warranties required under the terms of this
contract. .

" Services.

LMI warrants to Laidlaw that the services under this -
Contract shall be performed with the degree of skill and -

professional procedures and practices, and in conformance

with generally accepted professional standards prevailing
atthe time the service is performed so as to ensure that, -.

8.4.1 ‘IMI hereby agrees that if at any time after the
’ date hereof it shall appear that the Product or
_ Component delivered hereunder does not meet the
warranties specified above, and Laidlaw notifies
LMI promptly upon the discovery of the defect or
nonconformity, LMT shall acknowledge receipt of
such notice of defect or nonconformity and shall
- inform Laidlaw in writing within five (5) days of

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8.6

provided, however, guch repair, correction

or replacement shall be effected in such a.

manner as not to interfere with operations
conducted by Laidlaw, and in such a manner

8.4.1.2 LMI authorizes Laidlaw, at Laidiav’s -

to repair or correct the Product or
Component or have it repaired or
corrected, so that the Product or .
Component will meet and conform to the.
warranty specified above, and agrees to
provide the Source Code and pay Laidlaw
the cost of such repair, replacement,
reperformance or correction.

IMI guarantees that as long a8 the Product or a Component.
js covered by warranty or maintenance, such Product or
Component will work in accordance with the functions
detailed’ in the Edulog User Manual current and delivered
to Laidlaw at the date of execution of this contract.

_ Imm will, or will cause Edulog to use its best efforts to

correct any defect, bug, error, ‘or malfunction reported
to IMI or Edulog by Laidlaw or & third party, oF in any
way known to LMI or Edulog. If Laidlaw encounters a
problem which Laidlaw reasonably believes- is attributable

to a Product or Component covered by maintenance, Laidlaw

shall use reasonable means to notify LMI promptly, and
shall specify the exact nature of the problem to the. best
of Laidlaw’s ability.. LMI shall promptly correct the

problen, and provide such correction to Laidlaw, or shall
cause Edulog to do so.

Corrections shall be free of charge to Laidlaw at all
times.

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9.0 MAINTENANCE

9.1 Future Components.

IM? shall furnish to Laidlaw, without charge and promptly upon
publication or {ssuance, copies of all updated additional | wee
manuals, guides, -{nstructions oF other written materials

relating to the product as well as any upgrades,

modifications, enhancements Or supplements to existing .
Components. Any such written materials shall be of. sufficient
quality so as to provide reasonable: assistance to Laidlaw in

‘capabilities of the Product. All -such gaterials shall pecome.
’ part of the Product. . . .

9.2

Maintenance.

IMI shall, oF shall cause Edulog to, furnish to Laidlaw
without charge, all necessary naintenance and support for
the Product to enable efficient use of the Product by
Laidlaw such that Laidlaw can use the Product and can
support its customers in every-day comercial school bus
transportation applications of all sizes and types, for

however. long Laidlaw js licensed oY. authorized to use the.
Product. . . ° ,

Product Support.
IMI agrees that while the product is covered by warranty
or maintenance, LMI shall cause Eduieg to provide to

appropriate service in response to all such oral and/or
written inquiries. Laidlaw agrees to use reasonable

eat all technical contacts with Lux or Edulog shall be
~ through the technical representative and, that individual
oo users should not contact IMI or Edulog @ixectly. — steer

9.3.1 The technical representative shall be responsible

only for ‘interfacing with LM~ and Edulog regarding
use of the Product. Members of Laidiaw’s legal,
marketing and procurenent staffs, ete, nay
continue to work directly with IMI ox. Edulog
without charge to Laidlaw. ,

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In the event that neither. LMI or Edulog continues to.
provide support to Laidlaw for the Product, OF should LMT
be in default under this Contract, OF should an Event of

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Default on the part of IMT occur giving rise to the
rights described in section 14.2, IMr shall, and shall
cause Edulog to, make the Product and all computer codes,
including but not Limited te Source Code, available to

maintenance of the Product. For this purpose LMT shall:
(1) forthwith after execution of this contract enter into
and deliver the Escrow Agreement appended hereto as
schedule D, and cause Edulog to do so at the same tine;
(2) forthwith upon execution of this Contract: place a
current copy of the Source Code pertaining to the
Software furnished hereunder with the Escrow Agent in
accordance with the said Escrow Agreement; (3) pay all

upda:
such Source code and deposit same with the Escrow Agent
_whenever an update, enhancement, OF modification of the.
Product is required to be supplied to Laidlaw, or cause:
Edulog to do SO. , , .

. Laidlaw agrees to enter into and deliver the Escrow.
Agreement concurrently with execution of this Contract.

IMI hereby grants Laidlaw a contingent license to use the

Source Code, effective in the event and for the purposes
set forth above: in this section.

10.0 PRODUCT SUPPORT SERVICES
¢ . .

~ IME shall cause comprehensive initial training in the. use
of the Product ‘to be provided to Laidlaw by Edulog. in.
- ‘addition, IMI agrees that for as long .as Laidlaw shall -

ee _ prevailing rates for training, OF such other yates as may-
“pe agreed between imt and Laidlaw. The training dates -
ana times shall. meet Laidiaw’s needs. as. closely as may” we seme
| practically be accomplished by UML.

10.2 Consulting §

Consulting Services.
In addition to the Product maintenance and other services
- provided under this Contract, IME will, upon request,

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11.0 INDEMNITY °

indemnify and hold harmless Laidlaw from and against all
claims, damages; losses, liabilities, costs and expenses
(ineluding without limitation settlement costs and any
legal fees, court costs, accounting or other
- investigating or defending expenses for any actions or

threatened actions) in connection with each and all of
the following:

' (ap any misrepresentation or: preach of any
-. *-representation or warranty made by LMI or the.
Shareholder in this contract;

(b) . any breach of any covenant agreement or obligation
of IMI, Edulog or Shareholder contained in this
Contract or any other agreement, instrument or
document contemplated by this Contract.

11.2

Indemnification by Laidlaw. yo
Laidlaw hereby indemnifies and holds harmless LMI from
and against all claims, damages, losses, Liabilities,.
costs and expenses (including without Limitation
settlement costs and any legal fees, court costs,
_ accounting or other expenses for investigating or
defending actions or threatened actions) in
gonnection with each and all of the. following:

.{a) any misrepresentation or breach of an

‘y '
. representation or warranty made by Laidlaw in this
- Contract; : / : .

(b) any breach of any covenant, agreement or ‘obligation
of Laidlaw contained in this Contract or any other

. ‘agreement, instrument or document contemplated by -
this Contract. -

(44.3 Qlains for Indemnification. oe 7
“""Y Whenever any claim shall arise for indemification under
this section 11, the claiming party (the "Claimant")
shall promptly notify the jindemnifying party (the
“Indemnifier") of the claim and, when. known, the facts
constituting the basis for such claim. In the event of
any such claim for indemnification hereunder resulting
from or in connection with any claim or legal proceedings
by a third party, the notice shall specify, if known, the
amount or an estimate of the amount of the liability

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